Case 2:04-Cr-20017-BBD Document 332 Filed 05/25/05 Page 1 of 2 Page|D 684

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE cHB??q pg hzie
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UNITED STATES OF AMERICA,
Plaintiff,

vs. No. 04-20017-DV
RANDE LAZAR, M.D., d/b/a
OTOLARYNGOLOGY
CONSULTANTS OF MEMPHIS,
Defendant.

 

ORDER CONTINUING HEARING

 

The hearings set on May 25 and 26, 2005l on Defendant's Motion
to Dismiss the Indictment Based on Unconstitutional General
Instructions to the Grand Jury (Doc. #89) and Defendant's Motion to
Dismiss Superseding Indictment Based on Unconstitutional General
Instructions to the Grand Jury (Doc. #236) are continued and will
be reset, if necessary, after Judge Donald rules on the United
States' appeals of the magistrate's Orders for the United States to
Provide Grand Jury Instructions to the Defendant.

IT IS SO ORDERED this 25th day of May, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

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with Rule 55 and/or 32{b) FRCrP on

 

 

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ENNESSEE

 

Stephen Farese

FARESE FARESE FARESE, PA
122 Church Street

P.O. BoX 98

Ashland7 MS 38603

Cam ToWerS J ones

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Marc N. Garber

THE GARBER LAW FIRM, P.C.

4994 LoWer RosWell Rd.7 NE
Ste. 14
1\/121rietta7 GA 30068

Kevin P. Whitmore

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

